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No. 23-435

UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,
Plaintiff-Appellee,
Vv.
JESUS RAMIRO GOMEZ,

Defendant-Appellant.

Appeal from the United States District Court
for the Central District of California
Honorable James V. Selna, Judge Presiding

APPELLANT’S RESPONSE IN OPPOSITION
TO PETITION FOR REHEARING EN BANC

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FOR THE NINTH CIRCUIT
UNITED STATES OF AMERICA, ) No. 23-435
)
Plaintiff-Appellee, ) D.C. No. 8:20-cr-0171-JVS-FWS-5
) Central District of California,
V. ) Santa Ana
)
JESUS RAMIRO GOMEZ, )
)
Defendant-Appellant. )
)
INTRODUCTION

The panel correctly held that the district court erroneously applied the
Sentencing Guidelines career-offender enhancement because assault under California
Penal Code §245(a)(1) is not categorically a crime of violence under the federal
“elements clause,” and this Court’s prior case law to the contrary is clearly
irreconcilable with Borden v. United States, 593 U.S. 420 (2021). The government
doesn’t ask the Court to grant rehearing on that holding.

Instead, the government seeks en banc rehearing on the panel’s decision to
apply de novo review because the crime-of-violence question is purely legal, and the
government was not prejudiced by Gomez’s failure to object at sentencing. The
government claims the pure-question-of-law test is contrary to Supreme Court case

law which, the government says, required the panel to apply the “stringent
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requirements” of the plain-error test for trial-error established in United States v.
Olano, 507 U.S. 725 (1993). See Petition for Rehearing (Pet.) 6, 10.

That is wrong. In the Guidelines context, Supreme Court precedent — Rosales-
Mireles v. United States, 585 U.S. 129 (2018), and Molina-Martinez v. United States,
578 U.S. 189 (2016) — and case law from other circuits calls for less-stringent review
of forfeited Guidelines-error than is applied to forfeited trial-error. The pure-
question-of-law test is consistent with that case law and has a near-twin in the Sixth
Circuit. It is not, therefore, the outlier the government claims. See Tekoh v. Cnty. of
Los Angeles, 997 F.3d 1260, 1263 (9" Cir. 2021) (Miller, J., concurring in the denial
of rehearing en banc) (noting that a lack of a circuit-split counsels against ordering
en banc rehearing). Furthermore, in the Guidelines context there is no tension
between O/ano’s test and the pure-question-of-law test, because they yield the same
result.

Relatedly, this case is not a good vehicle for granting en banc review because
even if the panel had not applied the pure-question-of-law test, the result — vacating
Gomez’s sentence — would have been the same. Gomez addresses that point first.

THIS CASE IS A POOR VEHICLE FOR RE-VISITING
THE PURE-QUESTION-OF-LAW TEST

The panel correctly concluded: (1) assault under §245(a)(1) is not

categorically a crime of violence under the federal elements clause; and (2) this
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Court’s pre-Borden case law to the contrary is “clearly irreconcilable” with Borden.
In concluding the latter, the panel necessarily found the error involved was “plain,”
which is synonymous with “clear.” And because the government doesn’t claim
Gomez cannot meet the third and fourth prongs of Olano’s test — it instead takes aim
at the second prong — it is evident that even if the panel had applied Olano’s test,
rather than the pure-question-of-law test, the outcome would have been the same.

That conclusion is also compelled by United States v. Castillo, 69 F Ath 648
(9" Cir. 2023). Similar to this case, after a lengthy analysis the Court in Castillo
concluded: (1) the district court erred when it applied a Guidelines commentary
provision that expanded the definition of a “controlled substance offense;” and
(2) this Court’s prior case law to the contrary was “clearly irreconcilable” with
subsequent Supreme Court case law. See id. at 653-63. The Court exercised its
discretion to apply the pure-question-of-law test, but held the outcome would have
been the same under Olano’s test. See id. at 653. Thus, the Court necessarily
concluded the error was “plain” under O/ano’s test, even though it did the same sort
of complicated analysis to find error that the panel did in this case. This belies the
government’s claim that if determining that there is error involves a complicated
analysis, the error cannot be considered “plain.”

The points summarized above, and addressed in more detail below, make clear

that the outcome of this case would have been the same if the panel had applied
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Olano’s test. Thus, this case is a poor vehicle for en banc review of the pure-
question-of-law test. See United States v. Velazquez, 1 F.4th 1132, 1137 (9" Cir.
2021) (“we are not prompted to call for our court to revisit the issue en banc because
we reach the same conclusion under either standard of review’’) (cleaned up).

I. Because §245(a)(1) Doesn’t Require A Defendant Be Aware Of Even A
Risk That Force Will Be Applied, It Isn’t A Crime Of Violence Under The
Federal Elements Clause
As explained below, the panel correctly held that because §245(a)(1) doesn’t

require a defendant be aware of even a risk that force will be applied to another, it

isn’t a crime of violence under the federal elements clause, which requires a

defendant be aware, at a minimum, that there is a high degree of risk that force will

be applied to another.

The key case with respect to §245(a)(1) is People v. Williams, 26 Cal. 4" 779
(2001). There, the California Supreme Court addressed the prosecution’s burden to
show a defendant had “actual knowledge of the facts sufficient to establish that [his]
act by its nature will probably and directly result in injury to another.” Jd. at 784.
Under that standard, a defendant “may not be convicted based on facts he did not
know but should have known. He, however, need not be subjectively aware of the
risk that a battery might occur.” Id. at 787-88 (emphasis added). Indeed, “a

defendant who honestly believes that his act was not likely to result in a battery is

still guilty of assault if a reasonable person, viewing the facts known to defendant,

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would find that the act would directly, naturally and probably result in a battery.” Jd.
at 788 n.3 (emphasis added).

In short, to convict under §245(a)(1) the prosecution must show the defendant
had knowledge of the surrounding facts but need not show the defendant had any
intent to use force against another, or even knew there was a risk that force would be
applied to another.

The federal elements clause, on the other hand, requires a defendant be aware
of a risk that force will be applied to another. In Borden, the Supreme Court held that
an offense doesn’t qualify under the elements clause “if 1t requires only a mens rea
of recklessness.” 593 U.S. at 434. Instead “[t]he ‘against’ phrase” in the elements
clause “sets out a mens rea... of purposeful or knowing conduct,” as defined in the
Model Penal Code. J/d.; see also id. at 438. That means to qualify as a crime of
violence under the elements clause an offense must require showing the defendant
was “practically certain” force would be applied to another. See id. at 426.

Borden \eft open whether “mental states (often called ‘depraved heart’ or
‘extreme recklessness’) between recklessness and knowledge” “fall within the
elements clause.” See id. at 429 n.4. This Court took up that issue in United States
v. Begay 33 F 4th 1081, 1093 (9" Cir. 2022) (en banc), and held that “depraved heart”
recklessness, which requires showing the defendant was “aware” of a “very high

degree of risk” that force would be applied to another, is a categorical match to the

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elements clause. That mens rea is, however, the absolute floor for the elements
clause.’ See United States v. Linehan, 56 F.4th 693, 705 (9" Cir. 2022).

Comparing Williams with Borden and Begay, it is plain that §245(a)(1) is not
categorically encompassed within the elements clause because: (1) the elements
clause requires showing the defendant was “aware” there was a “very high degree of
risk” (Begay) or “practical certainty” (Borden) force would be applied; but
(2) Williams says §245(a)(1) doesn’t require showing the defendant was aware of any
such risk.

With respect to Williams’s holding that a defendant need not have been aware
of even arisk that force would be applied to another, the government says that merely
marks the “distinction between knowledge and purpose.” Pet. 18. That is flatly
wrong. Awareness of risk that force will be applied to another marks Borden’s line
between recklessness and negligence, not between knowledge and purpose. 593 U.S.
at 427. More important, Borden makes clear that “[a] person acts recklessly... when
he ‘consciously disregards a substantial and unjustifiable risk” that force will be
applied to another. /d. (quoting Model Penal Code §2.02(2)(c)). It is clear that
§245(a)(1) is not a categorical match because it doesn’t require a defendant be aware

of any such risk.

' In Begay, however, the government claimed there is no meaningful difference

between depraved heart recklessness and knowledge under the Model Penal Code.
See No. 14-10080, Gov’t Supp. Brief at 1, 8-14 (Docket #131).

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In addition to misunderstanding the mens rea definitions in Borden, the
government erroneously claims Borden did no more than affirm this Court’s holding
in Fernandez-Ruiz v. Gonzales, 466 F.3d 1121, 1130 (9" Cir. 2006) (en banc), that
for an offense to qualify under the elements clause, it must require a mens rea greater
than recklessness. Thus, the government says, Borden had no impact on this Court’s
pre-Borden case law holding §245(a)(1) is a categorical match to the elements clause.
See Pet. 5-6, 13-15.

The government gives Borden short shrift. But even ifall Borden held was that
recklessness isn’t enough to qualify under the elements clause, it also made clear that
it meant recklessness as defined in the Model Penal Code. And, as already explained,
the panel correctly held that isn’t a categorical match to §245(a)(1). See United States
v. Gomez, 115 F.4th 987, 994, 997 (9" Cir. 2024).

II. The Panel Correctly Held That This Court’s Pre-Borden Cases Holding
§245(a)(1) Is A Crime Of Violence Are Clearly Irreconcilable With Borden

The panel also correctly held that this Court’s pre-Borden cases holding
§245(a)(1) is categorically a crime of violence “did not use a definition of
recklessness consistent with Borden,” thus they are “clearly irreconcilable” with
Borden. Id. at 996-98 (citing Miller v. Gammie, 335 F.3d 889, 983 (9" Cir. 2003) (en

banc)).
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This Court’s key pre-Borden is United States v. Vasquez-Gonzalez, 901 F.3d
1060, 1066 (9" Cir. 2018), which “revisit[ed]’” this Court’s prior cases addressing the
issue presented here. The Vasquez-Gonzalez panel concluded that this Court’s prior
holdings were still valid, but it didn’t do an analysis based on the mens rea later
described in Borden. Instead, the Vasquez-Gonzalez panel rejected the defendant’s
argument that §245(a)(1) and the elements clause are not a categorical match because
““$245(a)(1) can be satisfied by negligent, and therefore unintentional, conduct,” and
the elements clause requires more than negligence. Jd. at 1067.

The Court in Vasquez-Gonzalez also said “[t]he essential question is whether
assault in California can be committed accidently or whether it requires an intentional
use of force. As defined in California, assault ‘requires an intentional act and actual
knowledge of those facts sufficient to establish that the act by its nature will probably
and directly result in the application of physical force against another.’” Jd. at 1068
(citing Williams, 26 Cal. 4" at 788). It is true that the court in Williams said the
conduct involved must have been intentional, and that the defendant must have
known about the surrounding facts. But that doesn’t address the key disconnect
between assault under §245(a)(1), as explicated in Williams, and the elements clause,
as explicated in Borden and Begay. Williams 1s clear that §245(a)(1) doesn’t require
any showing with respect to the defendant’s subjective awareness of a risk that force
would be applied to another. Yet Borden and Begay are clear that the elements clause

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requires the defendant be “aware” that there was a “practical certainty” or a “very
high degree of risk” that force would be applied.

None of this Court’s other pre-Borden cases came any closer to applying
Borden’s definition ofrecklessness when they assessed whether §245(a)(1) is acrime
of violence. Consequently, they “improperly categorize[d] §245(a)(1) as a crime of
violence” and are clearly irreconcilable with Borden. Gomez, 115 F.4th at 998.

IfIl. This Case Is A Poor Vehicle For Revisiting The Pure-Question-Of-Law
Test

With this backdrop, it is evident that this case is a poor vehicle for revisiting
the pure-question-of-law test, because even if the panel hadn’t applied that test, and
had applied Olano’s test, the result would have been the same.

As mentioned, the government focuses on the second-prong of Olano’s test and
says “this [case] is an appropriate vehicle” for granting en banc review because the
error was not “plain,” thus if the Court obviates the pure-question-of-law test 1t would
be “compelled to affirm [Gomez’s] sentence.” Pet. 9-10. But the government fails
to appreciate that: (1) in determining that there was error, the panel concluded this
Court’s prior case law was “clearly irreconcilable” with Borden; and (2) having done
that, the panel effectively determined the error was “plain,” which “is synonymous
with clear.” Olano, 507 U.S. at 734. There is no meaningful difference between the

panel’s “clearly irreconcilable” holding and concluding that the error is “clear.” That
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is, the clearly irreconcilable analysis “demonstrated” that “the first two prongs of the
[plain-error] test [we]re met.” United States v. Garcia-Lopez, 903 F.3d 887, 894 (9"
Cir. 2018).

Furthermore, and relatedly, the government’s argument is contrary to Castillo.
As discussed above, in that case the Court undertook a complicated analysis —
including under Miller v. Gammie — and found there was plain error. See Castillo, 69
F.4th at 653-63. The Court also said it was not worthwhile to dwell on whether to
apply Olano’s test versus the pure-question-of-law test because the outcome was the
same either way. See id. at 653. The same holds true here, except the government
asks the Court to dwell on the standard of review issue en banc.

The government doesn’t address these fatal flaws in its argument. Instead, it
makes two unconvincing claims.

First, it says the error can’t be plain because it wasn’t “so obvious” that the
district judge should have noticed it. Pet. 10-11, 20-21. The premise of the
government’s argument was rejected, and related Ninth Circuit case law overruled,
in Henderson v. United States, 568 U.S. 266, 277-79 (2013). There the Supreme
Court held that even if “a legal question was . . . unsettled” during district court
proceedings, Olano’s second prong is met if the error is “plain” at the “time of

appellate consideration.”

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Second, the government claims the error here cannot be considered “plain”
because “numerous judges of this Court .. . have concluded, in [five] unpublished
opinions post-Borden, that §245(a)(1) is still a crime of violence.” Pet. 11 & n.2.
Three of the cases cited by the government don’t address §245(a)(1), much less its
peculiar mens rea. That leaves United States v. Man, 2022 WL 17260489 (9" Cir.
2022) (unpublished), and United States v. Morton, 2022 WL 17076203 (2022)
(unpublished), which were decided by the same panel and are essentially identical.

As with this Court’s pre-Borden case law, the panel in Man and Morton failed
to compare Borden’s definition of recklessness with the mens rea described in
Williams. Instead, the panel in Man and Morton addressed the defendants’ argument
that §245(a)(1) is not a crime of violence because it “requires only a mens rea of
recklessness,” and Borden stated that recklessness doesn’t suffice under the elements
clause. Man, 2022 WL 17260489, *1. The panel in Man and Morton rejected that
argument because in Williams the California Supreme Court said a conviction under
§245(a)(1) “requires a mens rea greater than recklessness.” Jd. (citing Williams, 26
Cal. 4" at 788). However, Williams also said that it was using “reckless”
anachronistically, “as a synonym for criminal negligence, rather than its more modern
conception as a subjective appreciation of the risk of harm to another.” 26 Cal. 4" at
788 n.4. This makes clear, again, that the mens rea with respect to application of
force under §245(a)(2) is not a categorical match with recklessness under the Model

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Penal Code, as explicated in Borden. Thus, the panel in this case correctly concluded
that the simplistic, labels-based analysis in Man and Morton is not even persuasive.
See Gomez, 115 F.4th at 996, 998 & n.7.

In sum, the error in this case was plain, and the government doesn’t dispute that
the third and fourth prongs of Olano’s test are met. Thus, even if the Court were to
re-visit the pure-error-of-law test, the outcome in this case would be the same, which
makes it a poor vehicle for en banc review.

APPLICATION OF THE PURE-QUESTION-OF-LAW TEST TO

GUIDELINES-ERROR IS SUPPORTED BY SUPREME
COURT AND OTHER CIRCUITS’ CASE LAW

The government claims the pure-question-of-law test is contrary to “Supreme
Court precedent” and “the practice of other circuits,” and that Federal Rule of
Criminal Procedure 52(b) requires rigidly applying Olano’s test. Pet. 3, 6, 10. But
as the case law summarized below shows, Olano’s test, which was crafted for trial
error, is applied less stringently in the Guidelines context. That case law also
supports the conclusion that, in the Guidelines context, there is no tension between
Olano’s test and the pure-question-of-law test. Thus, contrary to the government’s
claim, in the Guidelines context the pure-question-of-law test doesn’t operate as an
“exception” to Rule 52(b)’s plain-error rule, it merely allows a panel discretion to do

a more streamlined analysis.

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I. The Government’s Claim That The Panel Was Required To Strictly Apply
Olano’s Test For Trial Error Is Belied By Case Law Holding That The
Plain-Error Rule Is Applied Less Stringently In The Guidelines Context
Case law from the Supreme Court and other circuits indicates that the plain-

error rule should be applied less stringently in the Guidelines context, including when

deciding if error 1s “plain.”

In Molina-Martinez, 578 U.S. at 195-97, the Supreme Court addressed Olano’s
third prong in the Guidelines-error context, which requires a defendant show there is
a reasonable probability that, but-for the error, the district court would have imposed
a lower sentence. The Court held that Guidelines error “can, and most often will, be
sufficient” to satisfy Olano’s third prong. Jd. at 198. The Court also indicated that
the plain-error rule should be applied less-stringently in the Guidelines context
because “a remand for resentencing, while not costless, does not invoke the same
difficulties as a remand for retrial does.” /d. at 204 (quoting United States v. Wernick,
691 F.3d 108, 117-118 (2° Cir. 2012)).

In Rosales-Mireles, 585 U.S. at 135-36, the Supreme Court held that “[1]n the
ordinary case, as here, the failure to correct a plain Guidelines error that affects a
defendant’s substantial rights” satisfies Olano’s fourth prong. To support that
holding, the Court again emphasized the “relative ease” and modest cost of
“correcting [Guidelines] error.” /d. at 140 (quoting United States v. Williams, 399

F.3d 450, 456 (2° Cir. 2005)). Consequently, the Court said its previous admonitions

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that plain-error relief should be granted “sparingly” don’t apply in the Guidelines-
error context. See id. at 142-43.

As indicated, in Molina-Martinez and Rosales-Mireles the Supreme Court
supported its analyses with Second Circuit opinions that hold plain-error review
should be conducted less stringently in the sentencing-error context. In one of those
cases, Wernick, the Second Circuit applied its less-stringent approach and found the
district court plainly erred, even though determining that there was error required a
detailed analysis of “intricate” Guidelines provisions. See Wernick, 691 F.3d at 113-
17.

Similarly, in United States v. Gamez, 577 F.3d 394, 397-400 (2° Cir. 2009), the
Second Circuit applied its “less stringent” approach and found the district court
plainly erred even though the error in that case involved a complicated categorical
analysis of whether an offense was a crime-of-violence under the Guidelines.

Likewise, in United States v. Orelien, 119 F.4th 217, 227-34 & n.17 (2° Cir.
2024), the court applied a “less-than-stringent plain-error standard” and remanded for
the district court to address complicated Guidelines obstruction-of-justice issues.

There are several similar examples. See, e.g., United States v. Haverkamp, 958
F.3d 145, 148-10 (2° Cir. 2020) (applying “relaxed plain error review” to conclude
a complicated special assessment error was plain); United States v. Matta, 777 F.3d
116, 121 (2° Cir. 2015) (applying “relaxed plain error review” to find error was plain

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even though “there was no clear precedent’). In the government’s view, the Second
Circuit got it wrong every time.

In addition to ignoring the Supreme Court and Second Circuit cases discussed
above, the government ignores the Sixth Circuit’s pure-question-of-law test, which
is nearly identical to this Court’s. In United States v. Sheffey, 818 Fed. App’x 513 (6"
Cir. 2020) (unpublished), that court applied its pure-question-of-law test in a closely
analogous situation. There, the defendant claimed the district court erroneously
applied the Guidelines “career offender enhancement” because it relied on a drug
conviction that “is categorically overbroad.” /d. at 514. The court recognized that
it would be permissible to apply O/ano’s test but exercised its “discretion” to consider
the issue de novo “because it was purely an issue of law that required no new factual
determination and was fully briefed.” /d. at 518 (citing Turner v. United States, 885
F.3d 949, 954 (6" Cir. 2018)); see also United States v. Baker, 807 F.2d 1315, 1321
(6" Cir. 1986).

It is evident that in the Guidelines-error context, the government is wrong when
it claims that strict application of Olano’s test is the only way a court may apply the
plain-error rule. And considering that there is no tension between Olano’s test and
the pure-question-of-law test in the Guidelines context, there is nothing objectionable
about this Court’s exercising its discretion to apply the latter. That point is addressed
next.

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II. In The Guidelines Context, There Is No Tension Between Olano’s Test
And This Court’s Pure-Question-Of-Law Test

The discussion below goes through Olano’s four prongs and explains why, in
the Guidelines context, the pure-question-of-law test doesn’t yield a different result,
if just streamlines the analysis.

The first prong of Olano’s test requires there be error. When assessing whether
there is a purely legal Guidelines-error, a court will necessarily apply de novo review,
under Olano’s test or the pure-question-of-law test. On the other hand, if the
Guidelines error isn’t purely legal, the Court won’t apply its pure-question-of-law
test. See United States v. Zhou, 838 F.3d 1007, 1011 (9" Cir. 2016).

The second prong of Olano’s test requires the error be “plain” or “clear.” That
determination is made based on controlling law at the “time of appellate
consideration,” rather than at the time of the district court proceedings. Henderson,
568 U.S. at 278-79. As the Court explained in Henderson, focusing on the law at the
time of appeal provides flexibility so courts can “identify those instances in which the
application of a new rule of law to cases on appeal will meet the demands of fairness
and judicial integrity,” and thus warrant relief. /d. at279. The “demands of fairness
and judicial integrity” are shorthand for the third and fourth prongs of Olano’s test.
Thus, if purely legal error is found, based on then-controlling law, relief should be

granted if a defendant can establish O/ano’s third and fourth prongs.

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The government nonetheless claims that if determining that there was purely-
legal Guidelines-error is complicated, the error cannot be considered “plain,” and
relief must be denied on that basis alone. Pet. 10-11. That is refuted by Castillo, in
which the Court found that Olano’s plain-error test was satisfied even though
determining that there was error involved a complicated analysis. 69 F.4th at 653-63.
The error in this case is at least as “plain” as the error in Castillo.

The government’s argument is also contrary to the many Second Circuit cases
discussed above that found plain error even though the analysis involved in
determining there was error was complicated.

Finally, Rule 52(b) doesn’t say relief should only be granted for uncomplicated
errors, it says “plain” error. And if an appellate court finds purely Guidelines-error,
under then controlling law, there is no textual or practical reason relief should be
denied because finding the error required a complicated analysis. Indeed, as the
Second Circuit said in Williams, “the Supreme Court has never applied the Olano
formulation of the plain error doctrine to ignore a judge’s sentencing error that
affected substantial rights, nor required a court of appeals to do so.” 399 F.3d at 454-
57. But that is the regime the government advocates.

Turning to Olano’s third and fourth prongs, under Molina-Martinez and
Rosales-Mireles the error alone will usually support granting relief. In the unusual
case when that is not so, the government can claim it would be prejudiced by applying

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the pure-question-of-law test, in which case that test won’t be applied. Furthermore,
a panel can always choose not to exercise its discretion to apply the pure-question-of-
law test.

In sum, in any Guidelines-error case in which a defendant qualifies for relief
under the pure-question-of-law test, they will also qualify under Olano’s test. Thus,
contrary to the government’s claim, in the Guidelines context the pure-question-of-
law test does not operate as an exception to Rule 52(b)’s plain-error rule, it merely
allows the Court discretion to do a more streamlined analysis.

CONCLUSION

The petition should be denied.

Respectfully submitted,

Dated: January 25, 2025 /s/ Todd W_ Burns
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FORM 11. CERTIFICATE OF COMPLIANCE FOR PETITIONS FOR
REHEARING OR ANSWERS FOR NINTH CIRCUIT
CASE NUMBER 23-435
I certify that: (check appropriate options(s):
I am the attorney and certify that pursuant to Circuit Rule 35-4 or 40-1, the

attached response in opposition to the petition for rehearing en banc 1s:

[|X] Prepared in a format, typeface, and type style that complies with Fed. R. App.
P. 32(a)(4)-(6) and contains the following number of words: 4,199 _.

(Petitions and answers must not exceed 4,200 words)

Date: January 25, 2025 s/ Todd W. Burns
Todd W. Burns

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